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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 ROSE NORDSTROM,

        Plaintiff,

 v.                                                 CASE NO.: 8:17-cv-00903-SCB-TBM

 SYNCHRONY BANK,

        Defendant.


                                           ./


                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


               COMES NOW the Plaintiff, ROSE NORDSTROM, and the Defendant, SYNCHRONY

BANK, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant, in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

      By:
        /s/ Amanda J. Allen, Esq.                            /s/ Brandon T. White, Esq.
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                                   CERTIFICATE OF SERVICE

      I certify that on August 9, 2018, a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                           s/Amanda J. Allen, Esq.
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